
11 So.3d 1003 (2009)
William ALLEN, Appellant,
v.
STATE of Florida, Appellee.
No. 1D06-6198.
District Court of Appeal of Florida, First District.
June 29, 2009.
James C. Banks of the Law Firm of Banks &amp; Morris, P.A., Tallahassee, for Appellant.
Bill McCollum, Attorney General, and Giselle Denise Lylen, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Peters v. State, 984 So.2d 1227 (Fla.2008).
WOLF, KAHN, and VAN NORTWICK, JJ., concur.
